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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  DANIEL MONCADA,

         Plaintiff,

  vs.


  BOB EVANS RESTAURANTS, LLC,
  a foreign limited liability company,

        Defendant.
  ____________________________________/

                          COMPLAINT AND JURY TRIAL DEMAND

         Plaintiff DANIEL MONCADA, through undersigned counsel, sues Defendant BOB

  EVANS RESTAURANTS, LLC, a foreign limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans With Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28

  C.F.R. Part 36.     This is also an action for declaratory and injunctive relief to prevent

  discrimination which includes equal access to internet website for services to order Defendant’s

  merchandise online. This is also an action for declaratory and injunctive relief to prevent the

  continuing act of trespass against the Plaintiff’s personal property (his handheld mobile

  smartphone device, hereinafter referred to as “mobile device”), and for compensatory damages to

  Plaintiff for such trespass. Remedies provided under common law for trespass are not exclusive,

  and may be sought in connection with suits brought under the ADA.

        2.       This Court has jurisdiction over this case based on federal question jurisdiction,

  28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief
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  pursuant to 28 U.S.C. §§ 2201 and 2202. In addition, this Court has supplementary jurisdiction

  over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

           3.     Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

           4.     Plaintiff DANIEL MONCADA is a resident of the State of Florida, resides within

  the Southern District of Florida, is sui juris, and is disabled as defined by the ADA and ADA

  Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

           5.     Plaintiff is, and at all relevant times has been, suffering from bilateral retinopathy

  and retina detachment, a permanent eye disease and medical condition that renders him legally

  blind.    Plaintiff thus is substantially limited in performing one or more major life activities,

  including, but not limited to, accurately visualizing his world and adequately traversing

  obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C. § 12102(1) -

  (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101, et seq., and in 42

  U.S.C. 3602, §802(h).

           6.     As a result of his being legally blind, Plaintiff cannot use his mobile device

  without the assistance of appropriate and available screen reader software.

           7.     Defendant BOB EVANS RESTAURANTS, LLC is a foreign limited liability

  company authorized to do business and doing business in the State of Florida that is in the

  business of operating a chain of casual dining restaurants to the public. Defendant owns and/or

  operates over 520 locations throughout the United States and throughout the State of Florida.

           8.     Plaintiff’s vision disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids and services for effective

  communication, including communication in connection with his use of a mobile device.



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         9.      Plaintiff frequently utilizes the internet on his mobile device. Due to the fact that

  he is legally blind, in order to effectively communicate and comprehend information available on

  the internet and access/comprehend mobile websites, Plaintiff uses commercially available

  screen reader software to interface with the various mobile websites.

         10.     At all times material hereto, Defendant was and still is an organization which

  owns and operates a chain of restaurants under the brand name “Bob Evans Restaurants.” Each

  restaurant is open to the public. As the owner and operator of these restaurants, Defendant is

  defined as a “public accommodation" within meaning of Title III because Defendant is a private

  entity which owns and/or operates “[A] bakery, grocery store, clothing store, hardware store,

  shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28

  C.F.R. §36.104(2).

         11.     By virtue of being a restaurant open to the public, each of Defendant’s locations is

  a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulation; 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant controls, maintains, and/or operates an adjunct mobile website called

  https://www.bobevans.com, that is configured for use by mobile devices such as smartphones to

  access Defendant’s internet website. One of the functions of Defendant’s mobile website is to

  provide the public information on the various locations of Defendant’s restaurants that provide

  casual dining throughout the United States and within the State of Florida. Defendant also sells

  to the public its food, which can be ordered online, through its associated mobile website.

         13.     Defendant’s associated mobile website also services its stores by providing

  information on its restaurant offerings, tips and advice, editorials, discounts, sales campaigns,

  and events, and other information that Defendant is interested in communicating to its customers.



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         14.     Since the mobile website allows the public the ability to locate its restaurants, and

  sells food offered for sale by Defendant and delivered from or offered to be picked up at its

  restaurants, the mobile website is an extension of Defendant’s physical stores. By this nexus, the

  mobile website is characterized as a place of public accommodation per 42 U.S.C. §

  12181(7)(E), and an extension of Defendant’s brick and mortar locations and businesses.

         15.     Because Defendant’s mobile website is a public restaurant that is on-line, where

  the public can view and purchase Defendant’s food, the mobile website is itself a sales

  establishment, which is a place of public accommodation pursuant to 42 U.S.C. § 12181(7)(E).

  As such, the mobile website must comply with all requirements of the ADA, and must not

  discriminate against individuals with disabilities and must not deny full and equal enjoyment of

  the services afforded to the public.

         16.     At all times material hereto, Defendant was and still is an organization owning

  and operating the above-described mobile website https://https://www.bobevans.com. Since the

  mobile website is open through the internet to the public as a restaurant and is a place of public

  accommodation under the ADA, Defendant, as the owner and/or operator of the mobile website,

  is defined as a “public accommodation" within meaning of Title III, 42 U.S.C. §12181(7)(E) and

  28 C.F.R. §36.104(2). As such, Defendant has subjected itself and the associated mobile website

  it created and maintains to the requirements of the ADA.

         17.     Plaintiff is and has been a customer who is interested in ordering and purchasing

  Defendant’s food, which is offered at Defendant’s physical restaurants and which is also offered

  and sold through Defendant’s mobile website.

         18.     The opportunity to shop for Defendant’s food from his home is an important

  accommodation for Plaintiff because traveling outside of the home as a blind individual is often



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  a difficult, hazardous, and frightening experience. Defendant has not provided its business

  information in any other digital format that is accessible for use by blind individuals.

          19.     Like most consumers, Plaintiff accesses several mobile websites at a time to

  compare food and prices. When shopping online, Plaintiff may look at several dozens of mobile

  websites to compare features and prices.

          20.     During the month of August 2017, Plaintiff attempted on several occasions to

  utilize Defendant’s mobile website to browse through the food to educate himself as to the food

  being offered and with the intent of making a purchase through the website.

          21.     Plaintiff utilizes screen reader software, which, when utilized, allows individuals

  who are blind or visually impaired to communicate with mobile websites.                     However,

  Defendant’s mobile website contains access barriers that prevent free and full use by blind

  individuals using keyboards and screen reader software.             These barriers are pervasive and

  include, but are not limited to: missing descriptions and information of site images; mislabeled

  links; site functions that do not allow for transactions to be understandable; and site functions,

  like buttons, that are no labeled right.

          22.     Defendant’s     mobile     website       also   lacks   prompting   information   and

  accommodations necessary to allow blind individuals who use screen reader software to locate

  and accurately fill out online forms to purchase Defendant’s food from the website.

          23.     Plaintiff attempted to locate an “Accessibility Notice” on Defendant’s mobile

  website which would direct him to a webpage with contact information for disabled individuals

  who have questions, concerns, or who are having difficulties communicating with the business.

  However, Plaintiff was unable to do so because no such link or notice was provided on

  Defendant’s website.



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          24.     The fact that Plaintiff could not communicate with or within Defendant’s mobile

  website left him feeling excluded, as he is unable to participate in the same online mobile

  shopping experience and access to food as provided at the mobile website and as experienced by

  the non-visually impaired public.

          25.     Plaintiff continues to desire to patronize Defendant’s mobile website, but is

  unable to do so as he is unable to effectively communicate with Defendant due to his blindness.

  Thus, Plaintiff, as well as others with vision impairments and disabilities, will suffer continuous

  and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices as set

  forth herein unless properly enjoined by this Court.

          26.     Because of the nexus between Defendant’s restaurants and its mobile website, and

  the fact that the mobile website clearly requires input from Defendant’s restaurants for its

  operation and use, the mobile website is a place of public accommodation subject to

  requirements of the ADA.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to insure full and equal use of its mobile website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to insure full and equal use of its mobile website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to insure full and equal use of the mobile website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to insure full and equal use of the mobile website by individuals

  with disabilities.



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         31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to insure full and equal use of the mobile website by individuals with disabilities.

         33.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

         34.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

         35.     On information and belief, Defendant has not created and instituted a Specialized

  Customer Assistance line or service or email contact mode for customer assistance for the

  visually impaired.

         36.     On information and belief, Defendant has not created and instituted on its mobile

  website a page for individuals with disabilities, nor displayed a link and information hotline, nor

  created an information portal explaining when and how Defendant will have the

  https://www.bobevans.com website, applications, and digital assets accessible to the visually

  impaired or blind community.

         37.     On information and belief, Defendant’s mobile website does not meet the Web

  Content Accessibility Guidelines (“WCAG”) 2.0 Basic Level of web accessibility.

         38.     On information and belief, Defendant has not disclosed to the public any intended

  audits, changes, or lawsuits to correct the inaccessibility of its mobile website to visually

  impaired individuals who want the safety and privacy of purchasing Defendant’s merchandise

  offered on its mobile website online from their homes.

         39.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, and accommodations provided by and through the mobile

  website, in contravention of the ADA.




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          40.     Further, public accommodations under the ADA must insure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with disabilities such as Plaintiff.

          41.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic

  life.      That mandate extends to internet shopping mobile websites, such as the

  https://www.bobevans.com mobile website.

          42.     On information and belief, Defendant is, and at all times has been, aware of the

  barriers to effective communication within its mobile website which prevent individuals with

  disabilities who are visually impaired from the means to comprehend information presented

  therein.

          43.     On information and belief, Defendant is aware of the need to provide full access

  to all visitors to its mobile website.

          44.     The barriers that exist on Defendant’s mobile website result in discriminatory and

  unequal treatment of individuals with disabilities who are visually impaired, including Plaintiff.

          45.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only

  means to secure adequate and complete redress from Defendant’s unlawful and discriminatory

  practices in connection with its website access and operation.

          46.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

  U.S.C. §§ 2201 and 2202.




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         47.     Plaintiff has retained the undersigned attorneys to represent him in this case, and

  has agreed to pay them a reasonable fee for their services.

                                         Trespass Violations

         48.     Plaintiff utilizes his handheld mobile device to access websites such as the

  Defendant’s https://www.bobevans.com mobile website. Plaintiff uses his mobile device as a

  method of conveyance of his personal information. Plaintiff thus stores his personal information

  and retains his browsing history on his mobile device.

         49.     Throughout its mobile website, Defendant has placed forms of software to collect

  non-public information on the website’s user’s preferences and internet browsing habits.

  Specifically, Defendant informs the mobile website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising. Further,

  Defendant discloses that any individual who accesses its mobile website and commences to shop

  on that website is subject to having his or his personal information conveyed to third parties.

  According to Defendant’s mobile website, those third parties include (but may not be limited to):

  (i) the Defendant’s related affiliated companies (without so naming those other companies); (ii)

  service providers (without so naming the service providers); (iii) other third parties (without so

  naming the third parties); (iv) law enforcement officials (if so required to be transmitted by said

  law enforcement); and (v) to other third-party ad servers.

         50.     Because of his blindness, Plaintiff was unable to comprehend Defendant’s mobile

  website; therefore, Plaintiff has had no choice, and likewise no knowledge, of Defendant’s

  installation of data and information tracking software and the collection of the website user’s

  browsing history and analytics placed on the user’s handheld device.




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          51.     Based upon the review of Defendant’s mobile website, when a user accesses

  Defendant’s mobile website, Defendant installs software onto the user’s handheld device,

  without the user’s advance consent or knowledge. It is also clear that Defendant has used

  browser cookies to identify websites that Plaintiff has previously visited by accessing Plaintiff’s

  web browser history.

          52.     As such, through its mobile website, Defendant has committed a trespass against

  the Plaintiff, since the mobile website places software on the Plaintiff’s handheld device without

  Plaintiff’s knowledge or consent.

                              COUNT I – VIOLATION OF THE ADA

          53.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          54.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates the https://www.bobevans.com mobile website, as

  defined within §12181(7)(E), and is subject to the ADA.

          55.     Pursuant to 42 U.S.C. §12181(7)(E), https://www.bobevans.com is a place of

  public accommodation under the ADA because it provides the general public with the ability to

  purchase Defendant’s food online, and have those purchased items delivered to one’s home or

  picked up from one of Defendant’s restaurants. Further, the mobile website also serves to

  augment Defendant’s restaurants by providing the public information on the various locations of

  the restaurants and to educate the public as to Defendant’s food sold on the mobile website and

  sold at its restaurants.

          56.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an




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  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         57.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         58.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

  discrimination also includes, among other things, “a failure to take such steps as may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated

  or otherwise treated differently than other individuals because of the absence of auxiliary aids

  and services, unless the entity can demonstrate that taking such steps would fundamentally alter

  the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

  would result in an undue burden.”

         59.     Defendant’s mobile website must be in compliance with the ADA, but it is not, as

  specifically alleged hereinabove and below.

         60.     As a result of the inaccessibility of Defendant’s mobile website, individuals with

  disabilities who are visually impaired are denied full and equal enjoyment of the food that

  Defendant has made available to the public on its mobile website, in violation of 42 U.S.C.

  §12101. et seq, and as prohibited by 42 U.S.C. §12182 et seq.




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         61.       A sample review of just part of the Defendant’s mobile website reveals that the

  website is not functional for users who are visually impaired, including, but not limited to, the

  following:

         a) Missing descriptions and information of site images;

         b) Mislabeled links;

         c) Site functions that do not allow for transactions to be understandable; and

         d) Site functions, like buttons, that are no labeled right.   .

  See, Declaration and Curriculum Vitae of Robert D. Moody, attached as Composite Exhibit “A”.

         62.       More violations may be present on other pages of the mobile website, which can

  and will be determined and proven through the discovery process in this case.

         63.       Further, Defendant’s mobile website does not offer or include the universal

  symbol for the disabled that would permit disabled individuals to access the website’s

  accessibility information and accessibility facts.

         64.       There are readily available, well established guidelines on the internet for making

  mobile websites accessible to the blind and visually impaired. These guidelines have been

  followed by other large business entities in making their mobile websites accessible.

  Incorporating such basic components to make the website accessible would neither

  fundamentally alter the nature of Defendant’s business nor would it result in an undue burden to

  the Defendant.

         65.       Defendant has violated the ADA -- and continues to violate the ADA -- by

  denying access to its mobile website by individuals, such as Plaintiff, with disabilities who are

  blind and who require the assistance of interface with screen reader software to comprehend and

  access internet websites. These violations within Defendant’s mobile website are ongoing.



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         66.     The ADA and ADAAA require that public accommodations and places of public

  accommodation ensure that communication is effective.

         67.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”.               Indeed, 28 C.F.R.

  §36.303(b)(2) specifically states that screen reader software is an effective method of making

  visually delivered material available to individuals who are blind or have low vision.

         68.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be

  provided in accessible formats, in a timely manner, and in such a way as to protect the privacy

  and independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         69.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed,

  constructed, and altered in compliance with the accessibility standards established by Part 36.

         70.     As alleged hereinabove, Defendant’s mobile website has not been designed to

  interface with the widely and readily available technologies that can be used to ensure effective

  communication, and thus violates the ADA.

         71.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant mobile website, with a nexus to its brick and mortar stores and physical locations,

  Plaintiff has suffered an injury in fact by being denied full access to and enjoyment of

  Defendant’s mobile website.




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         72.     As a result of the inadequate development and administration of the

  https://www.bobevans.com mobile website, Plaintiff is entitled to injunctive relief pursuant to 42

  U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the ongoing disability discrimination.

         73.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief; including an order to:

         a)    Require Defendant to adopt and implement a web accessibility policy to make

  publicly available and directly link from the homepage of the https://www.bobevans.com mobile

  website to a statement as to the Defendant’s policy to ensure persons with disabilities have full

  and equal enjoyment of the services, facilities, privileges, advantages, and accommodations

  through its website.

         b) Require Defendant to take the necessary steps to make the mobile website readily

  accessible to and usable by visually impaired users, and during that time period prior to the

  https://www.bobevans.com mobile website’s being readily accessible, to provide an alternative

  method for individuals with visual impairments to access the information available on the

  website until such time that the requisite modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual impairments will be able to effectively communicate with the mobile website for purposes

  of viewing and locating Defendant’s restaurant locations, and becoming informed of and

  purchasing Defendant’s food online, and during that time period prior to the mobile website’s

  being designed to permit individuals with visual impairments to effectively communicate, to

  provide an alternative method for individuals with visual impairments to effectively

  communicate for such food made available to the general public through Defendant’s website.




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         74.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action, and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant

  for the following relief:

         A. A declaration that Defendant’s mobile website is in violation of the ADA;

         B. An Order requiring Defendant to update its https://www.bobevans.com mobile

               website to remove barriers in order that individuals with visual disabilities can access

               the website and effectively communicate with the website to the full extent required

               by Title III of the ADA;

         C. An Order requiring Defendant to clearly display the universal disabled logo within its

               website, wherein the logo 1 would lead to a page which would state Defendant’s

               accessibility information, facts, policies, and accommodations. Such a clear display

               of the disabled logo is to insure that individuals who are disabled are aware of the

               availability of the accessible features of the https://www.bobevans.com mobile

               website;

         D. An order requiring Defendant to provide ongoing support for web accessibility by

               implementing a website accessibility coordinator, a website application accessibility

               policy, and providing for website accessibility feedback to insure compliance thereto.




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         E. An Order directing Defendant to evaluate its policies, practices and procedures

               toward persons with disabilities, for such reasonable time to allow Defendant to

               undertake and complete corrective procedures to its mobile website;

         F. An Order directing Defendant to establish a policy of web accessibility and

               accessibility features for its website to insure effective communication for individuals

               who are visually impaired;

         G. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

         H. Such other and further relief as the Court deems just and equitable.

                                       COUNT II – TRESPASS

         75.      Plaintiff re-alleges paragraphs 1 through 52 as if set forth fully herein.

         76.      Plaintiff’s tangible personal property, being his mobile device and the personal

  information and browsing history stored therein, has suffered a trespass by Defendant on each

  and every date that the Plaintiff has accessed Defendant’s mobile website, due to Defendant’s

  employment of software analytics which are present on and through Defendant’s mobile website,

  which the Plaintiff has navigated.

         77.      At all relevant times, Plaintiff did not consent to and was unaware that

  Defendant’s mobile website was placing software on his computer due to his inability to

  effectively communicate with and fully view and access the website.

         78.      Plaintiff did not consent to the placement of tracking and information securing

  software on his mobile device; therefore, Defendant has committed a trespass against Plaintiff by

  placing such software on his computer without his knowledge or consent.




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         79.     By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass.

         80.     Defendant’s installation, operation, and execution of software on Plaintiff’s

  mobile device has directly and proximately impaired the condition and value of the Plaintiff’s

  mobile device, thereby causing Plaintiff damages.

         81.     At the Defendant’s website location, as part of its “Privacy Policy”, Defendant

  states in pertinent part the following:

      What Type of Information do we Collect?

      We gather information through two means – navigational information gathered when
      you visit our Web site and personal information that you provide to us. Generally, the
      information we collect online helps us respond to your requests, deliver requested
      services to or for you, and personalize and continually improve your experience at
      BobEvans.com.

      Navigational Information:

      When visiting our Web site, BobEvans.com gathers navigational information about
      where visitors go on our Web site and how our site is working. This information allows
      us to see which areas of our Web site are most visited and the efficiencies of our site for
      our visitors. We can thus improve the quality of our visitors’ experience by recognizing
      and delivering more of the features, services and products our visitors prefer. Additional
      non-personally identifiable information (for example, domain type, browser version,
      service provider, and IP address) may be collected, which provides additional
      information regarding a visitor’s use of our Web site. BobEvans.com uses this
      information on an aggregate basis to evaluate the effectiveness of our Web site, to
      analyze trends and to administer the Web site.

      Personal Information:

      BobEvans.com may ask you to provide personal information when you establish or
      update an e-mail account, sign up to receive e-mails or other marketing materials from
      BobEvans.com, make a gift card purchase, submit a video or a photograph, submit a
      corporate giving request, send a recipe to a friend, submit a real estate inquiry, request
      investor information or create a stockholder account, contact us, participate in a contest,
      complete an employment application, or utilize any other feature where BobEvans.com
      may need to reply to your activity.


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      The personal information we collect may include name, postal address, e-mail address,
      telephone number, recipient’s name and address, order information, credit card
      information, and any other information you choose to provide. If you submit an
      employment application the information you submit may also include a resume, the
      type of position you are seeking, your educational background, work experience, salary
      requirements, and any other information you choose to provide.


                        *                       *                      *

      What Information do we Share with or Disclose to Third Parties?

      We use third parties to help us provide services to you, such as fulfilling online gift card
      orders, providing electronic online investor information, processing payments,
      monitoring site activity, conducting surveys, providing location information, and
      administering e-mails or contests that may occasionally be offered at this Web site or
      affiliated microsites. If personally identifiable information (i.e., name, address, e-mail
      address, telephone number) is provided by us or by you directly to any of these third
      parties, we will require that such information be maintained by them in confidence.
      Information you provide directly to our third party service provider for electronic online
      investor information may be shared with us. In the future we may share information
      with companies in whom we own an interest, for example, Owens Foods.

      As we continue to develop our business, we might sell or buy stores, subsidiaries, or
      business units. In such transactions, customer information generally is one of the
      transferred business assets but remains subject to the promises made in any preexisting
      Privacy Policy (unless, of course, the customer consents otherwise). If Bob Evans
      Farms, Inc., or substantially all of its assets were ever acquired, customer information
      will of course be one of the transferred assets. Otherwise, BobEvans.com does not sell,
      rent, or trade the information that you provide to us at this Web site.

      You should also be aware that we may disclose specific information about you if
      necessary to do so by law or based on our good faith belief that it is necessary to
      conform or comply with the law or is necessary to protect the users of our Web site, the
      site or the public.


         82.     Defendant’s trespass to chattels, nuisance, and interference has proximately

  caused real and substantial damage to Plaintiff as follows:

         a) By consuming the resources of and/or degrading the performance of Plaintiff’s mobile

  device (including space, memory, processing cycles and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his mobile device;


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         c) By infringing on Plaintiff’s right to determine, as the owner of his mobile device,

  which programs should be installed and operated on his mobile device;

         d) By compromising the integrity, security, and ownership of Plaintiff’s mobile device;

  and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his mobile device without notice or consent.

         83.       Defendant’s actions were taken knowingly, willfully, intentionally, and in

  reckless disregard for Plaintiff’s rights under the law.

         WHEREFORE, Plaintiff demands judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: September 14, 2017.
  RODERICK V. HANNAH, ESQ., P.A.                         LAW OFFICE OF PELAYO
  Counsel for Plaintiff                                  DURAN, P.A.
  8751 W. Broward Blvd., Suite 303                       Co-Counsel for Plaintiff
  Plantation, FL 33324                                   4640 N.W. 7th Street
  T. 954/362-3800                                        Miami, FL 33126-2309
  954/362-3779 (Facsimile)                               T. 305/266-9780
  Email: rhannah@rhannahlaw.com                          305/269-8311 (Facsimile)
                                                         Email: pduran@pelayoduran.com


  By____s/ Roderick V. Hannah __                         By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                     PELAYO M. DURAN
        Fla. Bar No. 435384                                    Fla. Bar No. 0146595




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